                                                                                                 Case 15-43361           Doc 1            Filed 12/28/15 Entered 12/28/15 17:49:32                               Desc Main
                                                                                                                                            Document     Page 1 of 19

                                                                                    Fill in this information to identify the case:
                                                                                                                                                                                                            Check if this is:
                                                                                    Debtor        ASTA Care Center of Pontiac, LLC                                                                              An amended filing

                                                                                    United States Bankruptcy Court for the Northern District of Illinois                                                    Chapter you are filing under:
                                                                                                                                                                                                                Chapter 7
                                                                                    Case number                                                                                                                 Chapter 9
                                                                                    (If known)                                                                                                                  Chapter 11
                                                                                                                                                                                                                Chapter 12



                                                                               Official Form 201
                                                                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                         12/15


                                                                               If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
                                                                               number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.

                                                                               1.    Debtor's name                    ASTA Care Center of Pontiac, LLC



                                                                               2.    All other names debtor
                                                                                     used in the last 8 years

                                                                                     Include any assumed names,
                                                                                     trade names and doing
                                                                                     business as names



                                                                               3.    Debtor's federal                 XX-XXXXXXX
                                                                                     Employer Identification
BkAssist® Software Copyright© 2010-2015 by Walter Oney. All rights reserved.




                                                                                     Number (EIN)



                                                                               4.    Debtor's address                 Principal place of business                                   Mailing address, if different from principal place
                                                                                                                                                                                    of business

                                                                                                                      134 North McLean Blvd.                                        P.O. Box 5056
                                                                                                                      Number Street                                                 Number Street



                                                                                                                      Elgin IL 60123                                                Elgin IL 60121-5056
                                                                                                                      City, State, ZIP Code                                         City, State, ZIP Code

                                                                                                                                                                                    Location of principal assets, if different from
                                                                                                                                                                                    principal place of business

                                                                                                                      Kane                                                          N/A
                                                                                                                      County




                                                                               5.    Debtor's website (URL)



                                                                               6.    Type of debtor                         Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

                                                                                                                            Partnership (excluding LLP)

                                                                                                                            Other: Specify N/A




                                                                               Official Form 201                                 Voluntary Petition for Non-Individuals Filing for Bankruptcy                                           Page 1
                                                                                            Case 15-43361              Doc 1       Filed 12/28/15 Entered 12/28/15 17:49:32                         Desc Main
                                                                               Debtor   ASTA Care Center of Pontiac, LLC                                                                                      Case number:
                                                                                                                                     Document     Page 2 of 19

                                                                               7.   Describe debtor's             A.    Check one:
                                                                                    business
                                                                                                                        Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                                                                                        Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                                                                                        Railroad (as defined in 11 U.S.C. § 101(44))
                                                                                                                        Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                                                                                        Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                                                                                        Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                                                                                                        None of the above

                                                                                                                  B.    Check all that apply:

                                                                                                                        Tax-exempt entity (as described in 26 U.S.C. § 501)
                                                                                                                        Investment company, including hedge fund or pooled investment vehicle (as defined in 15
                                                                                                                        U.S.C. § 80a-3)
                                                                                                                        Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                                                                                                  C.    NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                                                                                                        See http://www.naics.com/search.




                                                                               8.   Under which chapter of        Check one:
                                                                                    the Bankruptcy Code is
                                                                                    the debtor filing?                  Chapter 7
                                                                                                                        Chapter 9
                                                                                                                        Chapter 11. Check all that apply:
                                                                                                                           Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or
                                                                                                                           affiliates) are less than $2,490,925.00 (amount subject to adjustment on (04/13) and every 3
                                                                                                                           years after that).
                                                                                                                           The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a
                                                                                                                           small business debtor, attach the most recent balance sheet, statement of operations,
BkAssist® Software Copyright© 2010-2015 by Walter Oney. All rights reserved.




                                                                                                                           cash-flow statement, and federal income tax return or if all of these documents do not
                                                                                                                           exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                                                                           A plan is being filed with this petition.
                                                                                                                           Acceptances of the plan were solicited prepetition from one or more classes of creditors,
                                                                                                                           in accordance with 11 U.S.C. § 1126(b).
                                                                                                                           The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                                                                                           Securities and Exchange Commission according to § 13 or 15(d) of the Securities Exchange
                                                                                                                           Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing for
                                                                                                                           Bankruptcy under Chapter 11 (Official Form 201A) with this form.
                                                                                                                           The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                                                                                           12b-2.
                                                                                                                        Chapter 12




                                                                               9.   Were prior bankruptcy               No
                                                                                    cases filed by or against
                                                                                    the debtor within the               Yes        District   N/A                       When                   Case number
                                                                                    last 8 years?                                                                                 MM/DD/YYYY




                                                                               10. Are any bankruptcy                   No
                                                                                   cases pending or being
                                                                                   filed by a business                  Yes        Debtor     ASTA Care Center of Elgin
                                                                                   partner or an affiliate of                                                                                  Relationship
                                                                                   the debtor?
                                                                                                                                   District   N.D. of illinois          When      12/28/2015   Case number
                                                                                                                                                                                  MM/DD/YYYY




                                                                               Official Form 201                             Voluntary Petition for Non-Individuals Filing for Bankruptcy                           Page 2
                                                                                              Case 15-43361             Doc 1        Filed 12/28/15 Entered 12/28/15 17:49:32                             Desc Main
                                                                               Debtor     ASTA Care Center of Pontiac, LLC                                                                                               Case number:
                                                                                                                                       Document     Page 3 of 19

                                                                               11. Why is the case filed in          Check all that apply:
                                                                                   this district?
                                                                                                                          Debtor has had its domicile, principal place of business, or principal assets in this district for
                                                                                                                          180 days immediately preceding the date of this petition or for a longer part of such 180 days
                                                                                                                          than in any other district.
                                                                                                                          A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this
                                                                                                                          district.



                                                                               12. Does the debtor own or                 No
                                                                                   have possession of any                 Yes. Answer below for each property that needs immediate attention.
                                                                                   real property or
                                                                                   personal property that
                                                                                   needs immediate
                                                                                   attention?




                                                                                Part 2:          Statistical and administrative information

                                                                               13. Debtor's estimation of            Check one:
                                                                                   available funds
                                                                                                                          Funds will be available for distribution to unsecured creditors.
                                                                                                                          After any administrative expenses are paid, no funds will be available for distribution to
                                                                                                                          unsecured creditors.



                                                                               14. Estimated number of                    1-49                                  1,000 - 5,000                         25,001 - 50,000
                                                                                   creditors                              50-99                                 5,001 - 10,000                        50,001 - 100,000
                                                                                                                          100-199                               10,001 - 25,000                       More than 100,000
                                                                                                                          200-999
BkAssist® Software Copyright© 2010-2015 by Walter Oney. All rights reserved.




                                                                               15. Estimated assets                       $0 to $50,000                         $1,000,001 to $10 million             $500,000,001 to $1 billion
                                                                                                                          $50,001 to $100,000                   $10,000,001 to $50 million            $1,000,000,001 to $10 billion
                                                                                                                          $100,001 to $500,000                  $50,000,001, to $100 million          $10,000,000,001 to $50 billion
                                                                                                                          $500,001 to $1 million                $100,000,001 to $500 million          More than $50 billion



                                                                               16. Estimated liabilities                  $0 to $50,000                         $1,000,001 to $10 million             $500,000,001 to $1 billion
                                                                                                                          $50,001 to $100,000                   $10,000,001 to $50 million            $1,000,000,001 to $10 billion
                                                                                                                          $100,001 to $500,000                  $50,000,001, to $100 million          $10,000,000,001 to $50 billion
                                                                                                                          $500,001 to $1 million                $100,000,001 to $500 million          More than $50 billion


                                                                                Part 3:          Request for Relief, Declaration, and Signatures
                                                                               WARNING         Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000
                                                                                               or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                                                                               17. Declaration and                   The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in
                                                                                   signature of authorized           this petition.
                                                                                   representative of debtor
                                                                                                                          I have been authorized to file this petition on behalf of the debtor.

                                                                                                                          I have examined the information in this petition and have a reasonable belief that the information
                                                                                                                          is true and correct.

                                                                                                                     I declare under penalty of perjury that the foregoing is true and correct.

                                                                                                                     /s/ Michael Gillman                                                                  12/28/2015
                                                                                                                     Managing Member, authorized representative of ASTA Care Center of
                                                                                                                     Pontiac, LLC                                                                         MM/DD/YYYY




                                                                               Official Form 201                              Voluntary Petition for Non-Individuals Filing for Bankruptcy                                      Page 3
                                                                                            Case 15-43361           Doc 1         Filed 12/28/15 Entered 12/28/15 17:49:32                   Desc Main
                                                                               Debtor   ASTA Care Center of Pontiac, LLC                                                                                   Case number:
                                                                                                                                    Document     Page 4 of 19


                                                                               18. Signature of Attorney          /s/ Frank J. Kokoszka                                                       12/28/2015
                                                                                                                  Attorney for Debtor(s)                                                      MM/DD/YYYY

                                                                                                                  Frank J. Kokoszka
                                                                                                                  Printed name
                                                                                                                  Kokoszka & Janczur, P.C.
                                                                                                                  Firm name
                                                                                                                  122 South Michigan Avenue
                                                                                                                  Number Street
                                                                                                                  Suite 1070

                                                                                                                  Chicago IL 60603
                                                                                                                  City, State, ZIP Code

                                                                                                                  312-429-7861                                              fkokoszka@k-jlaw.com
                                                                                                                  Contact phone                                             Email address
                                                                                                                  6201436
                                                                                                                  Bar number
BkAssist® Software Copyright© 2010-2015 by Walter Oney. All rights reserved.




                                                                               Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                          Page 4
                                                                                               Case 15-43361             Doc 1       Filed 12/28/15 Entered 12/28/15 17:49:32                           Desc Main
                                                                                                                                       Document     Page 5 of 19

                                                                                  Fill in this information to identify the case:

                                                                                  Debtor         ASTA Care Center of Pontiac, LLC
                                                                                                                                                                                                       Check if this is an amended
                                                                                  United States Bankruptcy Court for the Northern District of Illinois
                                                                                                                                                                                                       filing
                                                                                  Case number
                                                                                  (If known)



                                                                               Official Form 202
                                                                               Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                           12/15


                                                                               An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
                                                                               form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and
                                                                               any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
                                                                               document, and the date. Bankruptcy Rules 1008 and 9011.

                                                                               WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
                                                                               connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
                                                                               1519, and 3571.


                                                                                                   Declaration and signature
                                                                                    I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership;
                                                                                    or another individual serving as a representative of the debtor in this case.

                                                                                    I have examined the information in the documents checked below and I have a reasonable belief that the information is true and
                                                                                    correct:

                                                                                          Schedule A/B: Assets--Real and Personal Property (Official Form 206A/B)
BkAssist® Software Copyright© 2010-2015 by Walter Oney. All rights reserved.




                                                                                          Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

                                                                                          Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

                                                                                          Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

                                                                                          Schedule H: Codebtors (Official Form 206H)

                                                                                          Summary of Assets and Liabilities for Non-Individuals (Official Form 206 - Summary)

                                                                                          Amended Schedule

                                                                                          Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official
                                                                                          Form 204)

                                                                                          Other document that requires a declaration Statement of Corporate Ownership, Verification of Creditor Matrix

                                                                                    I declare under penalty of perjury that the foregoing is true and correct.


                                                                                    /s/ Michael Gillman                                                                                       12/28/2015
                                                                                    Signature of individual signing on behalf of debtor                                                       MM / DD / YYYY


                                                                                    Michael Gillman
                                                                                    Printed name

                                                                                    Managing Member
                                                                                    Position or relationship to debtor




                                                                               Official Form 202                            Declaration Under Penalty of Perjury for Non-Individual Debtors                                  Page 1
                                                                                                 Case 15-43361              Doc 1        Filed 12/28/15 Entered 12/28/15 17:49:32                   Desc Main
                                                                                                                                           Document     Page 6 of 19

                                                                                    Fill in this information to identify the case:

                                                                                    Debtor         ASTA Care Center of Pontiac, LLC                                                            Check if this is:
                                                                                                                                                                                                   An amended filing
                                                                                    United States Bankruptcy Court for the Northern District of Illinois                                           A supplement disclosing
                                                                                                                                                                                                   additional payments or
                                                                                    Case number                                                                                                    agreements as of
                                                                                    (If known)



                                                                               Form BKA-2030
                                                                               Disclosure of Compensation of Attorney for Debtor                                                                                        12/15


                                                                               Use this procedural form, if desired, to disclose the matters enumerated in 11 U.S.C. § 329 and Fed. R. Bankr. P. 2016(b).

                                                                               Disclosure is required within 14 days after the order for relief or another time as the court may direct. A supplemental disclosure is
                                                                               required within 14 days after any payment or agreement not previously disclosed.

                                                                               Attach a copy of the retainer agreement, if any.


                                                                                Part 1:            Compensation

                                                                                     For legal services, I have agreed to accept.......................... $2,165.00

                                                                                     Prior to the filing of this statement I have received
                                                                                         Retainer for legal services.............................................. $2,165.00

                                                                                           Retainer for expenses, including the court filing fee ...... $335.00

                                                                                     Balance Due ......................................................................... $0.00
BkAssist® Software Copyright© 2010-2015 by Walter Oney. All rights reserved.




                                                                               2.    The source of the compensation paid to me was:

                                                                                          Debtor       Other (specify) We R Counseling (Michael Gillman)

                                                                               3.    The source of compensation to be paid to me is:

                                                                                          Debtor       Other (specify)           N/A

                                                                               4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates
                                                                                           of my law firm.

                                                                                           I have agreed to share the above-disclosed compensation with another person or persons who are not members or
                                                                                           associates of my law firm. A copy of the agreement, together with a list of the names of the people sharing in the
                                                                                           compensation, is attached.



                                                                                Part 2:            Services

                                                                               5.    In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

                                                                                     a.    Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in
                                                                                           bankruptcy.

                                                                                     b.    Preparation and filing of any petition, schedules, statement of affairs and plan that may be required.

                                                                                     c.    Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof.

                                                                                     d.    Representation of the debtor in adversary proceedings and other contested bankruptcy matters.

                                                                                     e.




                                                                               Form BKA-2030                                           Disclosure of Compensation of Attorney for Debtor                                   Page 1
                                                                                              Case 15-43361           Doc 1         Filed 12/28/15 Entered 12/28/15 17:49:32                  Desc Main
                                                                               Debtor     ASTA Care Center of Pontiac, LLC                                                                               Case number:
                                                                                                                                      Document     Page 7 of 19

                                                                                    f.

                                                                               6.   By agreement with the debtor(s), the above-disclosed fee does not include the following services:

                                                                                    Adversary Proceedings and Motions to Avoid Liens

                                                                               7.   A copy of my retainer agreement          is      is not attached.



                                                                                Part 3:          Certification

                                                                                    I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the
                                                                                    debtor(s) in this bankruptcy case.


                                                                                    /s/ Frank J. Kokoszka                                                                             12/28/2015
                                                                                    Frank J. Kokoszka (Kokoszka & Janczur, P.C.)                                                      Date
BkAssist® Software Copyright© 2010-2015 by Walter Oney. All rights reserved.




                                                                               Form BKA-2030                                      Disclosure of Compensation of Attorney for Debtor                             Page 2
Case 15-43361   Doc 1   Filed 12/28/15 Entered 12/28/15 17:49:32   Desc Main
                          Document     Page 8 of 19
Case 15-43361   Doc 1   Filed 12/28/15 Entered 12/28/15 17:49:32   Desc Main
                          Document     Page 9 of 19
Case 15-43361   Doc 1   Filed 12/28/15 Entered 12/28/15 17:49:32   Desc Main
                         Document     Page 10 of 19
Case 15-43361   Doc 1   Filed 12/28/15 Entered 12/28/15 17:49:32   Desc Main
                         Document     Page 11 of 19
                                                                                  Case 15-43361           Doc 1      Filed 12/28/15 Entered 12/28/15 17:49:32           Desc Main
                                                                                                                      Document     Page 12 of 19

                                                                                                          United States Bankruptcy Court
                                                                                                                  Northern District of Illinois
                                                                                                                      Chicago Division


                                                                               In re: ASTA Care Center of Pontiac, LLC                Case No.



                                                                                                             VERIFICATION OF CREDITOR MATRIX

                                                                               I(we) verify that the attached list of creditors and the matrix file to be uploaded in this case
                                                                               are true and complete to the best of my(our) knowledge.


                                                                               /s/ Michael Gillman                                                               12/28/2015
                                                                               Michael Gillman
                                                                               Managing Member of ASTA Care Center of Pontiac, LLC                               Date
BkAssist® Software Copyright© 2010-2015 by Walter Oney. All rights reserved.
 Case 15-43361   Doc 1   Filed 12/28/15 Entered 12/28/15 17:49:32   Desc Main
                          Document     Page 13 of 19

ACCU-MED Services
P.O. Box 641836
Cincinnati, OH 45264-1836

Accurate Biometrics
4849 North Milwaukee
Suite 101
Chicago, IL 60630

ACI
2450 Delta Lane
Elk Grove Village, IL      60007

Acme Refining Company
3357 South Justine
Chicago, IL 60608

ADEASEL
1304 West Washington Blvd.
Chicago, IL 60607

ADP, LLC
One ADP Drive MS-100
Augusta, GA 30909

Altus Global Trade Solutions
2400 Veterans Memorial Blvd.
Kenner, LA 70062

Avadanian & Associates, LLC
281 Young Harris St.
Suite D PMB 273
Blairsville, GA 30512

Edward Don Company
2562 Paysphere Circle
Chicago, IL 60674

Enloe Drugs, LLC.
Omnicare Pharmacies
PO Box 952011
Saint Louis, MO 63195

Fitzsimmons Home Medical Services
PO Box 497
Oak Forest, IL 60452
 Case 15-43361   Doc 1   Filed 12/28/15 Entered 12/28/15 17:49:32   Desc Main
                          Document     Page 14 of 19

GreensFelder, Hemker & Gale, P.C.
10 South Broadway
Suite 2700
Saint Louis, MO 63102

Illinois Department of Public Aid
PO Box 19491
Springfield, IL 62794

Illinois Department of Revenue
PO Box 88294
Chicago, IL 60680

Internal Revenue Service
P.O. Box 7346
Philadelphia, PA 19101-7346

Law Offices of Pucin & Friedland, P.C.
1699 East Woodfield Road
Suite 360A
Schaumburg, IL 60173

Michael Abramson
8918 West Pico Boulevard
No. 120
Los Angeles, CA 90035

Performance Food Group Company LLC
8001 TPC Road
PO Box 7210
Rock Island, IL 61204-7210

TwinMed LLC
11333 Greenstone Avenue
Santa Fe Springs, CA 90670
                                                                                  Case 15-43361          Doc 1      Filed 12/28/15 Entered 12/28/15 17:49:32                    Desc Main
                                                                                                                     Document     Page 15 of 19



                                                                                                         United States Bankruptcy Court
                                                                                                                Northern District of Illinois


                                                                               In re: ASTA Care Center of Pontiac, LLC                     Case No.

                                                                                                                                           Chapter 7



                                                                                                     STATEMENT OF CORPORATE OWNERSHIP

                                                                               Pursuant to Fed. R. Bankr. P. 1007(a)(1), the Debtor declares as follows:

                                                                                   The debtor is a corporation that is a governmental unit and is therefore not required to
                                                                                   provide a statement of ownership.

                                                                                   No corporation, other than a governmental unit, directly or indirectly owns 10% or more of
                                                                                   any class of the debtor's equity interests:

                                                                                   The following is a list of every corporation, other than a governmental unit, that directly or
                                                                                   indirectly owns 10% or more of any class of the debtor's equity interests:
BkAssist® Software Copyright© 2010-2015 by Walter Oney. All rights reserved.




                                                                               I, the Managing Member of the above named Debtor, declare under penalty of perjury that I have read the foregoing
                                                                               Statement of Corporate Ownership and that it is true and correct to the best of my information and belief.


                                                                               /s/ Michael Gillman                                                                       12/28/2015
                                                                               Managing Member                                                                           Date
Case 15-43361   Doc 1   Filed 12/28/15 Entered 12/28/15 17:49:32   Desc Main
                         Document     Page 16 of 19
Case 15-43361   Doc 1   Filed 12/28/15 Entered 12/28/15 17:49:32   Desc Main
                         Document     Page 17 of 19
Case 15-43361   Doc 1   Filed 12/28/15 Entered 12/28/15 17:49:32   Desc Main
                         Document     Page 18 of 19
Case 15-43361   Doc 1   Filed 12/28/15 Entered 12/28/15 17:49:32   Desc Main
                         Document     Page 19 of 19
